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PLEA AGREEMENT

1. `f`hisistheplea agreement bemeenthel]istrict Atomey ofth¢:
Co\mty ofNew York (“the Distr.ict Attornay") and defendant 'I'heodore "'l'ed“ K.ohl. This
memorandum of agreement consqu the entire agreement bemeen the Disl:icr
At“mmcy md T¢d K.ohl. 'I‘hcrc are no promises, agreemems, or condicioos, express or
impliod, other than those set forth in this documan No modifime deletion or
addiiiontothisagrecmcmwi]lbevalidorbindingonanyparty\mlesspmimowu'ting
and signed by an parties.

2, Tadl£oblshallpleadguiktyoothecrdncof&an.dhmeuyinth¢
Second Degree, in violation of Pena] law Secdon 155.40, a Class C felony, conrained
under co\ml number l of Indictrm:o! 2705!05 in full satisfaction of all charges contained
in Inriicunr:m 2705!05. Ted Kohi shall also plead guilty to Spo¢:i£cation 1 of tire
V‘mlatiun of Probation filed by the Deparuneut of Proba‘don width respect 10 his
sentencing under lndicuncm 5751."9‘5.

3. Uplm Ted Kohl’$ guilty plea, he Wiii allocate \mdm' oath to the
following facts:

BemeenlbedatesofMarchlZ,MmdApril$O, 2004,1
worked for lij Construction Company. Inc., a construction manager, on
a project iDI was performing for Asprey Limited in Ncw York Cuunt.y.
Dw.'ing that time period, I intentionally aided IDI in mmeng a false
and misleading invoice for payment to Aspxey, on which Asprey relied
in issuing payment in arms of $50,000 to [DI. During the course of tdc
project, IDI received monies from Asprcy, which were entrusted to }DI
for the benefit of SEELE, Pres|ige Deoorating & Wallmverin,g,_ Sage
Elecl:rical Contracting, luc.. and Acr.rmstical Ccnocpts. Howcvcr, the
funds Were mt paid to lhe,subconlmctors, in violation of the New Yurk
Li¢:n Law.

4_ a. Ted Kohl shall also waive badictment and plead guilty
loader a Supcrior Court lnfomation to two co:mts of Fi.ling aFra.udula.rt B.ehnn and
substantiain lmda'sta'ting tax liability, a class E feinmymdmNew York Stzte Tax Law
§1804{b) relating to the £ling ofa false New Yo:k Stale Resi'dent bloom Tax Retl.m:\s
(1'1`_201) for the years 2000 and 2001 with intentw evade more than $1,500 in personal
income fax.

b. Atd:stimeoftheplea,TedKobiwillallomnermderoath
regardingthefollcwing£acts:

On or about Ocmber 6, 2001, udtbi:rtarrtto wade income unc,!
knowingly and invcmioxm‘ily submitted afalse personal New York S‘baxc

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Renidmt lucome 'I`ax. R.etnm {I'I‘-ZDO) fortho 2000 tax year to the Ncw
York Smte Deparhnent of Taxotion and Finance. I did so with the
knowledgcthardrerennnwasfalseandthatmermnsuhmntially
mdorstared my tax liability in modes of $1,500.00.

On or about Octoboc 14, 2002. with intent to evade income tax, 1
knowingly md intentionally submitted a false personal New Yotfc State
Resident broome Tax R.etum (IT-ZOO) fox the 2001 tax year to the New
YorkSmDepmontofTaxanonandFinanoc. ldidsowiththe
knowledge that the return was false and that the ream-substantially
\mdcrstarod my tax liability in maness of $1,500_00.

5. Ar the time orvis pleas, red Knnl nmu waive all lights of appeal
or review whatsoever and withdraw all motions pending related to Indicnnent 2705{05_

6. Atthetimcofhisplms,l`edl{ohlwilladmittharh:isasecond
felony oi`ende:r, pm'su£mt to Penal Lacw section 70.06(1)(3), for his January 19, 2001
conviction for Ofl`ering a False instrument fox Fiiing in the Fixst Degree, Pena.i Law
section 175.35, undox!ndicm\em 5751/95.

7. Atthedmcofhispleas,d)isngreemontshalibemadopmofdae
mccord and the parties will request the Courts’ approval thereof. This agrwmen: will
become chocti.ve only ifbo‘th Justloo Edward J. Mcl,unghlin and J\zstice. Grego:ry Csn'ro
agree to impose the sentences set forth iu this agreement

\ n+", 3. Uponihe guilty Plea by red Kohl w indicnnem 2705/05, arc
"° -" y owner mm md defener red ronwin jointly recommmaro me Cmm warren , _
\"W*‘. ' mm amadeo amn£impnsonm-r¢mmm sinws, anotheme
`m. \\U*. , ' ' inure mm crime manion dollars (sz,ooo,ooo)._rh¢ ' ' ®
04 ashtoth b¢paid omnnren¢dm nimmo-nn nnm¢nm; l -
\‘5D

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a. `$600,600 by assignment of the ban fide rinan by non on behalf_of
Kohl and James Stmnpf in connection with the original cnnunai complaint
against thsm. paid to the District Athorney's OEEce for payment of resumed m

§§ the amount of $33,488 to .‘Lhe `N 'p‘(odc State Depanmont of Tax.aflon and

Fina:noe, asmquiredmders_eotion m:ha., andthc ramainder_tobe shared bythc
complaining creditors set forth in indictment 2705!05. 459

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b. $2,400,000 dollars _(the “Chapter 11 thds”} to bn pz_dd to Plalz:er‘, '
Swergold, Karl.in. Levin=, Goldberg & Joslow, LLP (the “Platzot Fn::n") on behalf
of the Unso¢:med Croditors in the Chnp¢£or ll case IDI Constmctxon Comparr_y,
lnc. (thl: -“Debwr"}, Atl:enlion: Soott K_ Levim:, a patmon Such payngont will
constitute full satisfaction settleman and discharge of any and all clemon ortho
Debtor and claims ofthe Ba:nkruptcy Ealate. T.|'lc Ch£:pte‘r 11 Funds shall be hold
bydre?latzchirminacl-owatiotcrest, subjected entry ofannrdnrappmvmg
thcsoniememwithTodKoblbydeanlnuptcyCoun. Suchordnrshallbe

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entered into on or before the date of sentencing Tho Chapter ll Funds shall he
paid by Kobl as follows:

i. $500,000 dollars prosde held by Marilyn Si.rnon & A$sonialm, tdc
Del:tor’s bankruptcy counsel, together with interest earned thereon

ii 51,000.000 to bo derived B~om the sale of K.ohl'a interest in TLH-B-l, L.P.
(tl).o“LPIntcrost”)inaBmitedpormorship‘dmownsroalwtaxeim
London, England in accordance with the letter of intent with H&L
SokoloH' Dove:lopmotrt, Ino. (“Sokolo£l”] dated Augost l, 2005, n copy of
m‘liirhls annexed hereto as Exhilrit “A". Tha letter of intontprovides for a
closing dame ofNove.mber l. 2005'.

iii. $QOO,UUO to be derived iom thc sale of Kohl’s apartcocnt no. 3'.|"[" al 425

ran sam sum N¢w York, New York, mailed as Exhi it “B" i

a copy of the brokr.-rago agocmont meal into with m nw e'“‘g
broken together with a present assi@moni of 5900,000 of tim proceeds of fig
sdoofa:parnnonttothc?la.tzchizm. h"""il.

c. Inthc oventtb.atany ofthoso assets mootli.qnidated pumumnto tamm of
this agreement and b toy settlement prior to sontonoing, 'I`ed Koh] hereby
grams powcrofailome otbcPlnizerirmto liquidatetb.osoa$cts add distribute
the assets pursuant to the terms of this agreement and bankruptcy settlement
Fu.rthr:rmoro,`l`edl{ohlwillpnyany os' osodlryt.hn mt

smchorg \
i°urSuBm Petm.l L@w-§GO.Z fl)(a . w MCD S'Q(D.l/zl.@j; en 54”
Sw. mg ~ 7 \ g
9. Upon the guilty plea by Tecl K'.ohl. to the Violai:ion of Probation on
lrvdicunmt 5?‘$1!93,` the _District At'lomey and defendant 'l`ed Kohl will jointly
mcconnenclm the Couzt that Tecl Kohl bc resentenced to storm of imprisonment of one

and athi.rd years to four years. Said term of imprisonment is to run oon.~rnculiv¢=ly to the
term of imprisonment imposed under paragraph 8 abova.

1'U. ` ' Updn the guilty plea by 'l'od Kohl to thc Supreme Court lnf`ormation
number 514'71'05, the Distt'i'ot Attomcy ami defendant Ted K.nbl will jointly recommend 10
' the Conrttl:at§i)'i`edl§oblbe sentende atermofnuprisonmon!ofong= mdmalialf
years to three years, to"run concurrently with the term of imprisonment imported under
paragraph 8 above, and (li) that Tod Kohl make rostinnion in the mount of thirty three `
thousand'and four hundred and dgl!ty eight dollars (S33,488) representing tim hug amount _ _

 

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dmgmmimmwmumdbyvdmormm:mrmmmmnl€um Fmdmgmnyotm¢mm mm

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due for the tax years 2000 md 2001 to 1113 New Ymk S‘tmr Dcpa:tmem of'l'axation and
Fi.n.anc:.

11. Ted.KohlfmmeragrmstomselwiththeDimid Atlumey's Ofl'icaan.cl
assist in the comi.nuing investigation

12. '{`thistdd.Atfm'n€yagreesdlm‘limabove dispusitionininfull
salisfa¢:tion ofa.ll m'mes, excluding crimes of violence and the sale or possession of a
controlled substance, committed by Ted K.ohl that the District Auorney has knowledge of
as ofd:e date ofthe signing ofthi,s agreement md infull satisfaction offhe New York
Slatc Dq)anment ofTax and Fiuancc referral dated May 19, 2005.

13. Thispleaagreementwill take efl’ectonly upon-me omryofaguiltyples.by
Jamus Stumpf, pmuantto plea agreement between the Disu'ict Attomey and Ismes
Stmnpf, tow crime ofGrandLarcenyinThirdDeg¢c;-.os setfonbin€ount?ive (5] of
lodictmznt number 2705¢"05, in full satisfaction of all charges contained in Indj.cdmm
number 2705{05.

14. Subject w the provisions of paragraph 7, it is understood that wis
agreement binds onlytbeDish'ict Attomcynnd'}`ed KnhL

Dawd= 001-shu ¢l, ws'

- New York, `Ne.'w York

 

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A. uhm, Esq.
l Atto:mry for Defend£m Ted Kobl

    

